Case 2:22-cv-00307-RSM Document 1-1 Filed 03/14/22 Page 1 of 3




                      EXHIBIT A
                Case 2:22-cv-00307-RSM Document 1-1 Filed 03/14/22 Page 2 of 3




 1                                                 FILED
 2                                          2022 JAN 28 02:20 PM
                                                KING COUNTY
 3                                         SUPERIOR COURT CLERK
                                                   E-FILED
 4                                         CASE #: 22-2-01515-2 SEA

 5

 6

 7                    SUPERIOR COURT OF WASHINGTON FOR KING COUNTY

 8   BRUCE P KRIEGMAN, solely in his capacity             NO.
     as court-appointed Chapter 11 Trustee for LLS
 9   America, LLC                                         NOTICE AND DECLARATION FOR
                                                          FILING FOREIGN JUDGMENT
10                    Judgment Creditor,
                                                          (Clerk’s Action Required)
11              v.

12   RONALD PONTON, JR. AND TOMIKA
     PONTON,
13
                      Judgment Debtors.
14

15
     TO:        DEFENDANTS
16
                1.    I am an attorney for the Judgment Creditor herein, have personal knowledge of
17
     the matters herein, and/or have reviewed plaintiff’s business records maintained in the ordinary
18
     course and am competent to testify. This declaration is made pursuant to RCW 6.36.035.
19
                Judgment Debtor’s Name and Address:
20
                       Ronald Ponton Jr and Tomika Ponton
21                     3220 Cottage Hill Road, Apt 3204
                       Mobile AL 36606-3041
22
                Judgment Creditor’s Name and Address:
23
                       Bruce P Kriegman as Ch. 11
24                     Trustee for LLS America LLC
                       Kriegman Law Office, PLLC
25                     600 University Street
                       Suite 1021
      NOTICE AND DECLARATION FOR FILING FOREIGN                           Green & Norwood PLLC
                                                                          2284 W. Commodore Way, Suite 300
      JUDGMENT - 1                                                        Seattle, Washington 98199
                                                                          (206) 420-3486


     1690-119
                Case 2:22-cv-00307-RSM Document 1-1 Filed 03/14/22 Page 3 of 3




 1                      Seattle, WA 98101

 2              2.     All communications and/or correspondence with Judgment Creditor should be

 3   sent to:

 4                      Green & Norwood PLLC
                        Attention: Matthew D. Green and
 5                      Elizabeth Hebener Norwood
                        2284 W. Commodore Way, Suite 300
 6
                        Seattle, WA 98199
 7                      Email: matt@gnlawseattle.com
                                elizabeth@gnlawseattle.com
 8
                3.     This declaration is made in reference to the filing of a foreign judgment against
 9
     RONALD PONTON, JR. AND TOMIKA PONTON with the above-entitled Court. The
10
     judgment was initially entered on June 16, 2015 in the Eastern District of Washington, Case
11
     No. 2:12-cv-00668-RMP in the amount of $120,670.59, plus post-judgment interest at the rate
12
     of 0.24% per annum pursuant to 28 U.S.C. §1961. An exemplified copy of the judgment is
13
     attached here.
14
                4.     The judgment expires on June 16, 2025 (10 years from date of entry) in
15
     accordance with Washington law.
16

17              I declare under penalty of perjury under the laws of the State of Washington that the
18   foregoing is true and correct.
19              Signed at Seattle, Washington, this 28th day of January, 2022
20

21                                                   Elizabeth Hebener Norwood
22

23

24

25

      NOTICE AND DECLARATION FOR FILING FOREIGN                                 Green & Norwood PLLC
                                                                                2284 W. Commodore Way, Suite 300
      JUDGMENT - 2                                                              Seattle, Washington 98199
                                                                                (206) 420-3486


     1690-119
